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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            HON. MARK A. GOLDSMITH
v.                                                          Case No. 12-CR-20287

ALEXANDRA NORWOOD, et al.

                  Defendants.
__________________________________/

             ORDER EMPANELING AN ANONYMOUS JURY FOR TRIAL

       On March 26, 2014, the Court held a conference in this case, at which the subject of an

anonymous jury was raised. In response to the Court’s invitation to submit briefing on that issue,

Defendant Oldham, joined by Defendants Jonathan Walker (Dkt. 476) and Jatimothy Walker

(Dkt. 480), filed a memorandum opposing empaneling an anonymous jury. Def. Mem. (Dkt.

462). The Government filed a response, indicating support for keeping the jury anonymous.

Gov’t Resp. (Dkt. 487). Having reviewed the parties’ briefing and the applicable law, and

having heard further argument at the final pretrial conference on May 1, 2014, the Court

concludes that empaneling an anonymous jury is appropriate in this case.

       The law on empaneling an anonymous jury is well-established within the Sixth Circuit.

“The decision to empanel an anonymous jury is within the sound discretion of the trial court.”

United States v. Lawson, 535 F.3d 434, 439 (6th Cir. 2008). Circumstances suggesting that

“[t]he anonymity of a jury should be preserved” include, but are not limited to, where:

               (1) a dangerous defendant is alleged to have been a participant in
               large-scale organized crime, to have participated in mob-style
               killings and had previously interfered with the judicial process; (2)
               a defendant has a history of attempted jury tampering and serious
               criminal records[;] and (3) there are allegations of dangerous and



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               unscrupulous conduct by the defendant, coupled with extensive
               pretrial publicity.

United States v. Kilpatrick, No. 10-20403, 2012 WL 3237147, at *2 (E.D. Mich. Aug. 7, 2012)

(citing Lawson, 535 F.3d at 439) (internal quotation marks omitted). “The federal courts,

including the Sixth Circuit, have also recognized that the anonymity of a jury should be

preserved when [there is] extensive publicity that could enhance the possibility that jurors’

names would become public and expose them to intimidation and harassment.” Id. (quotation

marks and citations omitted). Clearly, then, there “is no constitutional right to a public jury.”

Lawson, 535 F.3d at 440.1

       The Jury Selection Plan for the Eastern District of Michigan expressly permits keeping

the jury anonymous. The Plan provides that “[n]ames and personal information of grand and

petit jurors will not be disclosed to attorneys, parties, the public, or the media,” except that,

“upon order of the court, names and counties of residence of prospective petit jurors may be

disclosed to the attorneys or parties in a case set for trial after those jurors have appeared for

service.” See Juror Selection Plan, 13-AO-016, § (t)(2), (3) (approved Mar. 6, 2013). In other

words, anonymity before jury selection begins is the status quo. The Plan does allow for the

public disclosure of names and county of residence of petit jurors after the conclusion of jury

selection, but “[a]ny district judge may order juror names to be kept confidential in any case

when the interests of justice so require.” Id.

       The Sixth Circuit has instructed that, if an anonymous jury is empaneled, “the court must

ensure that the defendant retains his or her right to an unbiased jury by conducting a voir dire

designed to uncover bias as to issues in the case[] and as to the defendant himself, and by
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  For this reason, the Court rejects Defendants’ conclusory argument that, “Seating a jury whose
members are not even named to defense counsel violates the Sixth Amendment right to a public
trial and the Sixth Amendment and Fifth Amendment Due Process rights to an impartial jury.”
Def. Mem. at 2.

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providing the jury a neutral and non-prejudicial reason for requiring that it be anonymous, so that

jurors will refrain from inferring that anonymity was necessary due to the character of the

defendant.” United States v. Tally, 164 F.3d 989, 1001-1002 (6th Cir. 1999).

       Defendants Oldham, Jatimothy Walker, and Jonathan Walker argue that the “only factor

in favor of an anonymous jury in this case is whether extensive publicity increases the possibility

that jurors would be exposed to intimidation and harassment.” Def. Mem. at 1. The Court

agrees that this is one factor weighing in favor of empaneling an anonymous jury; and it is a

factor that finds support in numerous news articles from across the country discussing the

investigation into the alleged enterprise, this case, and these Defendants. See Exhibits to Gov’t

Resp. (Dkts. 487-2 to 487-15). Continued significant media attention is likely as this case

proceeds through trial.

       However, the Court disagrees that media attention is the “only factor in favor of an

anonymous jury in this case.” Def. Mem. at 1. The nature of the charges also weighs in favor of

empaneling an anonymous jury. See United States v. Koubriti, 252 F. Supp. 2d 418, 422 (E.D.

Mich. 2003) (proper to consider nature of charges); see also Lawson, 535 F.3d at 439 (proper to

consider allegations of “dangerous and unscrupulous conduct”).

       The Amended First Superseding Indictment alleges that Defendants participated in a

criminal enterprise designed to promote the exclusive sale of drugs within a specified geographic

location. The indictment claims that Defendants controlled their territory and reputation through

intimidation, fear, and violence, see Am. First Superseding Indictment ¶ 10 (Dkt. 191); indeed,

the indictment alleges numerous violent overt acts, and includes counts of murder and attempted

murder in aid of racketeering. The indictment also asserts that members of the alleged enterprise

“intimidated witnesses to deter them from providing information to law enforcement and to



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enforce a ‘no snitching’ code. Persons and members who failed to adhere to the code were

subjected to violent acts.” Id. ¶ 13. These allegations certainly fall within the “dangerous and

unscrupulous” standard set forth in Lawson.

       Moreover, at least some of the Defendants face possible life sentences if convicted,

which is one factor courts have considered when deciding to empanel an anonymous jury. See

United States v. Sierra-Rodriguez, No. 10-20338, 2012 WL 1199018, at *2 (E.D. Mich. Apr. 10,

2012) (citing United States v. Warman, 578 F.3d 320, 343-344 (6th Cir. 2009)).                 Courts

generally consider this factor because it may “increase[e] the likelihood that [defendants] would

resort to extreme measures to influence the outcome of their trials.” Id. This is particularly

relevant in this case in light of the already-existing allegations of witness intimidation.2

       In sum, the substantial pretrial publicity this case has received, coupled with the

allegations of “dangerous and unscrupulous conduct,” convinces the Court that keeping the

potential jurors’ identifying information undisclosed to the public is appropriate. See Tally, 164

F.3d at 1001; Lawson, 535 F.3d at 440. Even Defendants concede that, with respect to the media

concern, the “remedy is simple: do not identify jurors publicly by name.” Def. Mem. at 2.

       Nevertheless, Defendants argue that their counsel should receive juror identifying

information.   They claim that “[p]rohibiting counsel from investigating prospective jurors’

backgrounds would violate the right to an impartial jury” because, “when a juror’s identity is

unknown[,] . . . biases are difficult or impossible to discover” during voir dire. Def. Mem. at 3.

Defense counsel also argued at the May 1, 2014 hearing that identifying information is necessary



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  The Court emphasizes that this decision should not be read as any form of decision on the
merits of the Government’s allegations. And, as discussed infra, the Court will supply a neutral
explanation to the jury regarding anonymity to safeguard Defendants’ right to the presumption of
innocence. Nevertheless, as explained in Lawson and Koubriti, the Court should not be blind to
the nature of the charges when deciding whether to empanel an anonymous jury.

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so counsel can monitor the jurors’ social-media accounts during trial to assure that jurors are not

discussing the case.

       With respect to counsel’s claim that they need identifying information for voir dire, the

Court notes that it has already implemented significant measures for empaneling an impartial

jury. The prospective jury pool appeared before the Court on March 27, 2014 and completed a

24-page, 99-question juror questionnaire — developed by counsel — to which counsel has

received the responses. The fundamental purpose of the questionnaire was to reveal potential

bias. That goal was accomplished, as evidenced by the agreement of the parties to strike 63

potential jurors for cause. As such, the questionnaire has been clearly effective in helping to

ensure an impartial jury.

       The questionnaire answers also provide a significant amount of information for counsel

to use for targeted questioning during voir dire. As Judge Edmunds noted in the Kilpatrick case,

“[t]he answers prospective jurors provide in their juror questionnaires will provide a wealth of

information that can be plumbed during individual voir dire.” Kilpatrick, 2012 WL 3237147, at

*3; see also id. at *4 (“Defendants will have at their disposal a detailed juror questionnaire that

they helped create so as to ferret out prejudicial bias, followed by individual voir dire that

presents another opportunity to ferret out any bias.”); United States v. Branch, 91 F.3d 699, 725

(5th Cir. 1996) (in case with juror questionnaires, “the contention that the use of the anonymous

jury hindered the [defendants’] ability to select an impartial jury sorely underestimates the ability

of counsel to use the available ‘arsenal of information’ about each prospective juror”).

Defendants can, therefore, explore the juror questionnaire answers further during voir dire to

assure an impartial jury, even without access to the jurors’ names.




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       Furthermore, “[i]n the ordinary empaneling of juries in this Court, attorneys do not have

an opportunity to corroborate or investigate potential jurors. Names are provided and jurors

selected all in a single proceeding.” Kilpatrick, 2012 WL 3237147, at *3. An Administrative

Order in this district specifically provides that “the clerk may not disclose any juror qualification

form [which includes the jurors’ names] of any person in preparation for the venire under any

circumstances except upon order of the court in connection with a challenge” under the Jury

Selection and Service Act, 28 U.S.C. § 1861, et seq. See Administrative Order 05-AO-020

(effective Sept. 29, 2012). Therefore, the fact that the Court already authorized the use of

extensive juror questionnaires goes beyond what Defendants’ counsel would receive in a

standard trial when preparing for voir dire. Defendants’ suggestion that they absolutely need the

potential jurors’ identifying information to maintain their right to an impartial jury is, thus,

unwarranted.

       The Court similarly concludes that counsel’s alleged need for juror identifying

information to monitor jurors during trial is meritless. Defense counsel claims monitoring is

necessary to assure that jurors are not discussing the case. As explained by Judge Edmunds in

the Kilpatrick decision, however, the monitoring that defense counsel proposes would

“unnecessarily chill the willingness of jurors summoned from our community to serve as

participants in our democratic system of justice.”        Kilpatrick, 2012 WL 3237147, at *3

(quotation marks and citation omitted). Citizens who are asked to forego work and family

responsibilities for what is expected to be a two-month trial should not be subjected to covert

surveillance as well. See id. This surveillance is unwarranted because the law presumes that

jurors are able to follow instructions not to discuss the case publicly or with others. See United

States v. Starnes, -- F. App’x --, 2014 WL 211823, at *4 (6th Cir. Jan. 21, 2014) (“[W]hen a



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court instructs a jury to do something, there is a strong presumption that the jury will follow that

instruction.”). In fact, the juror questionnaires specifically asked whether the prospective juror

would be able to follow this command. Counsel may explore this point further during voir dire.3

       Lastly, the Court rejects any argument by Defendants that empaneling an anonymous jury

undermines their presumption of innocence. This argument has been squarely addressed and

rejected by the Sixth Circuit and numerous courts in this district. See, e.g., Koubriti, 252 F.

Supp. 2d at 423; Talley, 164 F.3d at 1002. To avoid any such possible prejudice, the Court will

provide a neutral reason to the jury for maintaining their anonymity, such as media attention

and/or the large number of prospective jurors. See Sierra-Rodriguez, 2012 WL 1199018, at *3.

       For the above reasons, the Court will empanel a totally anonymous jury. The parties shall

submit proposed language for the Court to read to the jury explaining the reason for anonymity

with their joint voir dire memorandum on May 8, 2014. See 3/28/14 Order (Dkt. 477, ¶ 11).

       SO ORDERED.

Dated: May 6, 2014                                   s/Mark A. Goldsmith
       Flint, Michigan                               MARK A. GOLDSMITH
                                                     United States District Judge

                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on May 6, 2014.

                                                     s/Deborah J. Goltz
                                                     DEBORAH J. GOLTZ
                                                     Case Manager

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  Defendants have offered no case authority rejecting jury anonymity in the name of
investigating or monitoring jurors when balanced against allegations of witness tampering,
violent acts, and potential life sentences. Even courts ordering partially anonymous jurors —
whose names are revealed only to counsel — have prohibited counsel from conducting any
investigation into the jurors. See, e.g., Kilpatrick, 2012 WL 3237147, at *4; United States v.
Stone, No. 10-20123, 2012 WL 113479, at *3 (E.D. Mich. Jan. 13, 2012).

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